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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Federal Trade Commission
                                       Plaintiff,
v.                                                      Case No.: 1:25−cv−02391
                                                        Honorable Jeffrey I Cummings
GTCR BC Holdings, LLC, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 12, 2025:


         MINUTE entry before the Honorable Jeffrey I Cummings: This case has been
assigned to the calendar of Judge Jeffrey I. Cummings. The parties' joint motion for entry
of a stipulated temporary restraining order [26] is granted. Enter Stipulated TRO.
Plaintiff's motion to seal portions of the complaint [7] is granted. By 3/18/24, the parties
shall meet and confer and shall file a joint initial status report in accordance with the
template available on the Court's website under the case management procedure titled
"Initial Status Report for Newly Filed Cases." The parties shall also review all of the case
management procedures and standing orders available on the Court's website, including
the Court's case management procedure for motions to dismiss. The parties' initial joint
status report shall include an agreed, proposed briefing schedule on on plaintiff's motion
for preliminary injunction. Initial tracking status hearing set for 3/31/25 at 9:00 a.m. to
track the case only (no appearance is required and the case will not be called). Instead, the
Court will review the parties' joint initial status report and enter further orders as
appropriate. Mailed notice (cc, )




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